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DIPLOMATE:
American Academyof
Physical Medicine and October 17, 2003
Rehabilitation
American Academyof Pain
Management .
Re: Siamak Pourzand
Date of Birth: September 15, 1929
MEMBER: Currently confined to third block / Evin prison, Tehran, Iran
American Academyof cio Maheen Pourzand-Saffar
Electrodiagnostic Medicine 011-9821-873-4614 in Tehran, Iran
American Coll fS
‘i. |. To. Whom It May Concern:
PCUCINE
American Pain Society This is in reference to the above-captioned individual who is currently under
confinement at the Evin prison in Tehran, Iran.
American Medical
Informatics Society I've reviewed the patient's medical records and in particular the following

documents:

Rehabilitation Engincering

nec ot ae 1. Letter of Saturday, August 9, 2003 (Mordad 18, 1382) from Dr. Fazlali
Ashayeri alluding to the MRI report of Wednesday, July 30, 2003 (Mordad 8,

American Telemedicine 1382) of the cervical and lumbosacral spine. Dr. Ashayeri has correctly

Association concluded that treatment currently available in the United States in spine

surgery and post-op rehabilitative care will mitigate the serious progression of
spinal stenosis and impending paresis in this patient.

2, MRI report of July 30, 2003 (Mordad 8, 1382) ouilining the significant
presence of spinal stenosis resulting in effacement and compression of the
cord at the cervical and lumbosacral areas.

If left unattended, Mr. Pourzand will progress to a wheelchair-dependent
status in the very near future. Spinal stenosis is a serious, yet remediable
condition best treated by surgical decompression and post-op aggressive
rehab. Such an approach will prevent premature disability and the associated
organ failures (such as bowel and bladder dysfunction). ‘

It is my recommendation that Mr. Pourzand be treated in the United States at
duly equipped surgical centers. | am an affiliate of such centers through our
clinic in Baltimore, Maryland and we regularly consult and treat patients of the
Johns Hopkins University Hospital or the Greater Baltimore Medical Center.
We will be happy to assist in seeing that Mr. Pourzand receives this urgent
and much needed treatment fluently and expeditiously.

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Siamak Pourzand
October 17, 2003

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I'd be happy to answer any other questions regarding this matter, Please don't hesitate
to call or e-mail our clinic at 410-825-5905 or at info@massumi.com .

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